     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 1 of 8




                   Excerpts from Defendants’ Responses and Objections to
                  Plaintiffs’ First Request for Production of Documents and
                          Plaintiffs’ February 17, 2021 Letter Motion

7.      Any communications with any media outlet concerning any news coverage of Krucial
Staffing’s deployment during the New York deployment.

RESPONSE: Defendants object because the request does not seek documents that are relevant to
any party’s claims or defenses and the request is not proportional to the needs of the case. Plaintiffs
cannot meet their burden of demonstrating relevance and proportionality. Defendants estimate, in
good faith, that it would take approximately 10 hours of administrative labor to search for and
produce potentially responsive documents. Documents are being withheld because it is unduly
burdensome to collect and review potentially responsive communications.

        LETTER MOTION: Demand # 7 seeks information and correspondence with the
        many local media outlets about its New York deployment. Many of these were in
        response to the articles about this case in Mother Jones, ProPublica, and Business
        Insider. Each of these journalist enterprises found the case on the docket on its
        own. Krucial was able to get a jingoistic spot on "The Today Show" that it still
        brags about. About a month or two after that, I got a call from a person who sang
        Krucial's praises on that segment. I declined to add that person to the lawsuit
        because she followed the demagogue.

        Nevertheless, the fact that Krucial arranged for such massive local media spots
        speaks to the fraud allegations. It admits to no wrongdoing whatsoever, yet I kept
        getting calls and emails all summer and into December that I could not ignore a
        group of plaintiffs who wanted to retain me for unpaid wages. Krucial promotes
        itself on media as a Heaven-sent savior. Yet so many former employees were aghast
        at its methods. Others held in their complaints because of the extremely high pay.
        These plaintiffs would not because they have ethical standards. Jalen Eaton was so
        demoralized by his termination for complaining about medical standards that he
        reconsidered whether he should be a nurse for some months. He lost so much self-
        esteem that he thought a way to get it back was to reapply to Krucial. Wrong move,
        but psychologically understandable. Brandon Burr was excoriated publicly despite
        procuring PPE and other items to assist nurses. His ability to procure supplies was
        an embarrassment to Cleary, and Cleary could not articulate why he fired Burr,
        even though Cleary publicly denounced him. Burr benefited the nurses at Krucial,
        but Cleary announced over his e-loudspeaker in Kansas that he was a scammer.

        Krucial is, as plaintiffs have alleged, a fraudulent organization. It holds up two
        things that feed its belief that it is doing good for society: Bill de Blasio and "The
        Today Show." But as Peggy Lee wondered, "Is that all there is?" See also KHN.org,
        11/24/20, "Need a COVID-19 Nurse? That'll Be $8,000 a Week?" (A nurse
        "remembers her employers telling her and her colleagues to "suck it up" as they


33842581v.1
                                                                                           EXHIBIT A
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 2 of 8




        struggled to care for six patients each and patched their protective gear with tape
        until it fully fell apart. The $800 or so a week she took home no longer felt worth
        it.") https://tinyurl.com/y9za3trk (quoting Cleary on how well Krucial did
        financially and quoting The Guardian, November 3, 2020, "Is This Worth My Life?"
        https://tinyurl.com/yxc71t2h.) As both articles explain, Krucial (and similar
        companies) lured workers from lower-paying jobs to "suck it up," or, as Cleary and
        his staff instructed, :" Get in there; they're probably going to die anyway!" Part of
        this fraud was to portray itself as sanctimonious, God-fearing do-gooders. But
        plaintiffs have a different story to tell, like the tiny "Who" crying out for Horton.
        Many of these companies — especially Krucial — harm society and do more harm
        than good. Especially Krucial because Cleary disclaimed at his deposition that he
        had any duty to the nurses other than to round them up, send them to New York to
        "get in there!" The marketing it did through local media as requested by demand #
        7 is relevant in proving the Krucial's unapologetic fraud.

9.     Any and all writings, communications, documents or other tangible items which were sent,
given or otherwise provided by the Defendant to the City of New York. This demand includes:

        a.    Contracts between the City of New York and Krucial Staffing. The City of New
        York is defined as the municipal corporation, and any response may be limited to
        communications with the Mayor’s Office; the Office of Emergency Management; the
        Department of Health and the Health and Hospitals Corporation (which is now known as
        NYC H & H).

        b.     Invoices and payments from the City of New York, including demands for any
        unpaid invoices, rejections of invoices, evidence of payments.

        c.      Any communications concerning plans or instructions to deploy nurses within the
        City Hospitals or other sites from the time of Krucial’s retention by the City until the end
        of the deployment.

        d.     Any written documents (including emails and texts) among employees or
        management at Krucial about the operations of the City of New York – as defined above –
        during the New York deployment.

        e.    Any documents mentioning PPE, whether it includes a shortage of PPE, or an
        abundance, or its proper use.

RESPONSE: Defendants have produced Krucial’s contracts with NYCH&H in Defendants’
Initial Disclosures and will produce responsive e-mails between Brian Cleary and
representatives of New York City Office of Emergency Management. Defendants object to
any further production because the request does not seek documents that are relevant to any party’s
claims or defenses and the request is not proportional to the needs of the case. Plaintiffs cannot
meet their burden of demonstrating relevance and proportionality. Defendants estimate, in good


                                                 2
33842581v.1
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 3 of 8




faith, that it would take approximately 16 hours of administrative labor to search for and produce
potentially responsive documents. Documents are being withheld because it is unduly burdensome
to collect and review potentially responsive documents. (emphasis added).

        LETTER MOTION: Demand # 9 requests all communications between it and the
        City. This request goes to the heart of the case. The rules of engagement were
        perhaps undefined in this deployment. Something went awry. Again, at his
        deposition, Cleary tended to blame the mess on the ground on "the emergency." Yet
        Krucial raked in millions. Plaintiffs are entitled to all categories of information
        requested in the correspondence between Krucial and the City. How much Krucial
        made is relevant, minimally, to show that Krucial was undercapitalized, which
        might be the case. Otherwise, it had enough money such that it should and could
        have done a competent job in managing nurses. These nurses sacrificed and wanted
        to help in responding to COVID.

        At least two got COVID — one severely — because of a lack of PPE, no social
        distancing, no contract tracing, sporadic and inconsistent payment for quarantine.
        An organization that can respond to a pandemic must know about the pandemic. It
        did wrong, and it should not have promised PPE despite a shortage that the City
        knew about. The City stated this in its contract with Krucial — more or less. Krucial
        either did understand about the PPE poverty or conveniently denies it now. Most
        of these nurses would not have come if they had known of a PPE shortage. Krucial
        had the right to implead the City for these failures but did not. Thus, as the
        employer, it cannot deflect blame on the City or "the emergency" it was ill-equipped
        to respond to.

11.    All emails between and among Steven Cooper of Pflugerville, Texas and Bryan Cleary or
other Krucial management, including but limited to (a) his anticipated role in this litigation; or (b)
Mr. Cooper’s role as a Krucial worker in deleting negative comments – including but not limited
to complaints about a lack of PPE – on Nursing Group chats. By “group chat” I mean an online
forum, such as may exist on WhatsApp or Facebook, where multiple nurses communicated about
the New York deployment.

RESPONSE: Defendants will produce all e-mails between Steven Cooper and Brian Cleary
within Defendants’ custody and control. Defendants object to the request for communications
with “Krucial management” because the request does not seek documents that are relevant to any
party’s claims or defenses and the request is not proportional to the needs of the case. Plaintiffs
cannot meet their burden of demonstrating relevance and proportionality. Defendants estimate, in
good faith, that it would take approximately 5 hours of administrative labor to search for and
produce additional potentially responsive documents. Documents are being withheld because it is
unduly burdensome to collect and review potentially responsive communications. (emphasis
added).

        LETTER MOTION: Demands ## 11 and 14 ask for emails or other
        correspondence between Krucial (including Cleary) and Matthew Cooper of

                                                  3
33842581v.1
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 4 of 8




        Pflugerville, Texas. Mr. Cooper was in New York monitoring social media and
        resolving tech issues. He called me last summer and related the misdeeds Krucial
        was engaged in. This demand calls for evidence that could be relevant for the
        reason set forth above — misinformation, eliminating useful information, or
        squelching discussion of improper patient care or nurse safety. The defendant does
        not deny these correspondences exist. The proportionality argument is laughable.
        Mr. Cooper is a third-party who can sustain allegations of fraud and nurse abuse.

19.   Any documents concerning rules or procedures for testing employees for COVID-19,
whether at the deployment or after the employee “demobilized” – voluntarily or involuntarily.

RESPONSE: COVID-19 testing was not generally available during Plaintiffs’ short time in New
York and, if available, was limited to patients admitted to a hospital who exhibited COVID-19
symptoms. There are no documents concerning rules or procedures for testing employees
during the timeframe of Plaintiffs’ employment because reliable testing for non-symptomatic
employees was not an option. No documents from the relevant timeframe are being withheld.
Defendants object to production of potentially responsive documents that were created or used
after the conclusion of Plaintiffs’ employment for deployments outside of New York. Such
documents are not relevant to any party’s claims or defenses and the request is not proportional to
the needs of the case. Plaintiffs cannot meet their burden of demonstrating relevance and
proportionality. Defendants estimate, in good faith, that it would take approximately 15 hours of
administrative labor to search for and produce potentially responsive documents. Documents are
being withheld because it is unduly burdensome to collect and review potentially responsive
documents. (emphasis added).

        LETTER MOTION: Demand # 19 requests information about COVID testing and
        contract tracing among Krucial Staff. Aimee Branch caught COVID from a co-
        worker in one of Krucial's cramped buses, and Krucial never told her that she
        should quarantine in New York and not expose her daughter to COVID, as she did.
        Going to the heart of the case, or at least one valve, this issue is relevant in
        defeating the defendant's contention of the Worker's Compensation bar. Yes, testing
        was sparse in comparison to now but is relevant. The idea that it is too burdensome
        to tender such information in a case where some plaintiffs caught COVID is
        intellectually dishonest, to put it mildly.

28.   Documents concerning or relating to any nurse complaint about (a) lack of PPE; or (b)
working outside of the scope of expertise.

RESPONSE: NYCHH agreed to provide PPE and Krucial instructed its employees to report to
Krucial any lack of PPE; numerous Krucial employees worked around the clock for weeks to
respond to these reports. Defendants previously produced all documents concerning any of
the Plaintiffs’ complaints regarding PPE or scope of practice. Defendants object to additional
production because the request seeks documents that are not relevant to any party’s claims or
defenses and the request is not proportional to the needs of the case. Plaintiffs cannot meet their
burden of demonstrating relevance and proportionality. Defendants estimate, in good faith, that it

                                                4
33842581v.1
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 5 of 8




would take approximately 40 hours of administrative labor to search for and produce potentially
responsive documents. Documents are being withheld because it is unduly burdensome to collect
and review potentially responsive documents that pertain to nurses other than Plaintiffs. (emphasis
added).

        LETTER MOTION: Demands 28, 29, and 30 seek information about breach of
        contract and fraud. Krucial dangled work as COVID swabbing as one potential
        deployment. It used that promise as an inducement, at least in part, to attract
        nurses. Plaintiffs — at least those who relied on the potential of swabbing —
        contend reasonably that this demand could lead to relevant evidence in proving
        fraud. If there were no swabbing jobs, why did Krucial float swabbing as a
        possibility? If there were swabbing sites, it goes to the question of differential
        treatment when several plaintiffs were fired for failure to "get in there" and do what
        would have cost them their licenses — or their lives.

29.     Documents of Krucial’s response to the complaints requested in ¶ 27, including but not
limited to reassignment to a station where the nurse felt qualified to work, an attempt to procure
PPE, or demobilization of the complaining employee.

RESPONSE: NYCHH agreed to provide PPE and Krucial instructed its employees to report to
Krucial any lack of PPE; numerous Krucial employees worked around the clock for weeks to
respond to these reports. Krucial employees also worked to assign or reassign shifts based on
nurse preference or experience whenever possible. Defendants previously produced all
documents concerning any of the Plaintiffs’ complaints regarding PPE or scope of practice.
Defendants object to additional production because the request seeks documents that are not
relevant to any party’s claims or defenses and the request is not proportional to the needs of the
case. Plaintiffs cannot meet their burden of demonstrating relevance and proportionality.
Defendants estimate, in good faith, that it would take approximately 40 hours of administrative
labor to search for and produce potentially responsive documents. Documents are being withheld
because it is unduly burdensome to collect and review potentially responsive documents that
pertain to nurses other than Plaintiffs. (emphasis added).

        LETTER MOTION: Demands 28, 29, and 30 seek information about breach of
        contract and fraud. Krucial dangled work as COVID swabbing as one potential
        deployment. It used that promise as an inducement, at least in part, to attract
        nurses. Plaintiffs — at least those who relied on the potential of swabbing —
        contend reasonably that this demand could lead to relevant evidence in proving
        fraud. If there were no swabbing jobs, why did Krucial float swabbing as a
        possibility? If there were swabbing sites, it goes to the question of differential
        treatment when several plaintiffs were fired for failure to "get in there" and do what
        would have cost them their licenses — or their lives.

37.     Any documents maintained to keep Krucial’s LLC form, including but not limited to such
procedures outlined in Article 76 of Chapter 13 of the Kansas Corporation law, including but not
limited to

                                                  5
33842581v.1
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 6 of 8




        a.     Section 17-7668. Nature of business permitted; powers.

        b.    17-7669. Business transactions of member or manager with the limited liability
        company.

        c.     17-7670. Indemnification of officers.

        d.     17-7672. Interpretation and enforcement of operating agreement.

        e.     17-7673 The Articles of organization including a procedure for amendments
        together with any amendments.

        f.     17-7686. Rules concerning Admission of members. 17-7687 Records of voting and
        meetings of members.

        g.     17-7693. Management of limited liability company. (Which may be duplicative of
        the request for ownership interests, in which case please indicate that the earlier demand
        answers this question.

RESPONSE: Defendants will produce Krucial’s Articles of Organization, filed with the
Kansas Secretary of State, and the Foreign Registrations filed with Texas and New York.
Defendants object to the request for “documents maintained to keep Krucial’s form” as vague,
ambiguous and confusing. Defendants object to the request because it seeks information that is
not relevant to any party’s claims or defenses and the request is not proportional to the needs of
the case. Plaintiffs cannot meet their burden of demonstrating relevance and proportionality.
(emphasis added).

        LETTER MOTION: Demand # 37 requests whether the LLC maintains proper
        corporatesque procedures. This information could allow plaintiffs to sue members,
        prove under-capitalization — or adequate capitalization, proving that it could have
        done a decent job during the deployment. Or it could lead to evidence that the LLC
        wilfully cheated the plaintiffs, knew there was a PPE shortage — potentially
        anything. Cleary was cagey, but if he didn't understand his ethical and legal
        responsibilities, then one of the members should. Cleary is not a member.

        Further, a failure to follow proper corporate LCC procedures under Kansas law
        could reflect on Cleary's credibility or the LLC's incompetence to undertake this
        deployment. Any such records could lead to relevant evidence. I will limit this
        demand to anything leading up to June 30, 2020, approximately a month after the
        last plaintiff was fired. Kansas Corporation Law Article 76 requires, in various of
        its sections requires Limited Liability Companies, among other things, an operating
        agreement; the construction thereof; annual reports, etcetera.



                                                6
33842581v.1
      Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 7 of 8




        It is true that Kansas LLC law is favorable to the LLC, but the Kansas Supreme
        Court described its limitations in Iron Mound, LLC v. Nueterra Healthcare
        Management, LLC, 234 P.3d 39 (2010). This is not to say that Iron Mound has
        specific applicability to this case. But it allows a critique of the LLC just as the
        corporation, and any written documents, organizational documents, annual
        reports, etcetera. It should set out the LLC's division of responsibilities generally,
        in the pandemic or another disaster. Without the historical sense of how this LLC
        arose and how it sees its sense of LLC responsibility as a nurse-staffing agency,
        and perhaps it believes it has none. The LLC is a creature of the State of Kansas.
        It owes a duty to follow that State's rules given the benefits of the "corporate" form.
        The written LLC documents, including but not limited to the above suggestions,
        could lead to discoverable evidence. Brian Cleary, in my estimation, is a handsome
        spokesman for the LLC and nothing more. If the case goes to trial, he will get on
        the stand and give a lot of know-nothing sweet-talk. He was evasive at his
        deposition; though we used 7 hours, plaintiffs will need a few more, as presumably,
        we should have seven plaintiffs. He knew nothing about the LLC's operation, little
        about the pandemic, and repeatedly deflected blame on "the emergency," accepting
        no responsibility for managing nurses in the New York deployment. Plaintiffs
        deserve an opportunity to take a peek beyond the veneer and find out who made
        decisions within the LLC (whose members include three LLC's and one natural
        person). Brian Cleary knew very, very little.

38.     All communications among members about the finances of Krucial.

RESPONSE: Defendants object to the request because it seeks information that is not relevant to
any party’s claims or defenses and the request is not proportional to the needs of the case. Plaintiffs
cannot meet their burden of demonstrating relevance and proportionality. The request also seeks
highly confidential and sensitive information. Additionally, the “members” of Krucial Staffing
LLC are entities, rather than individuals, and thus not capable of communications. No
documents will be produced in response to this request. (emphasis added).

        LETTER MOTION: Demand # 38 requests "All communications among members
        about the finances of Krucial." Number 39 requests "All communications among
        the LLC members about the New York deployment." My reasoning as to # 37 is the
        same as to ## 38 and 39.

43.    All written statements taken from witnesses to any occurrence alleged in the Complaint
which are in your possession, custody or control. If there are documents in another person’s
custody, please interpret this as an interrogatory limited to the name and last known address of
such witness and statement.

RESPONSE: Defendants have already produced all documents specifically relating to
Plaintiffs and “occurrences” alleged in the Complaint that might be construed as written
statements. Defendants object to the request to the extent it seeks disclosure of documents
unrelated to any of the Plaintiffs because it seeks information that is not relevant to any party’s

                                                  7
33842581v.1
     Case 1:20-cv-02859-JGK-OTW Document 92-1 Filed 02/19/21 Page 8 of 8




claims or defenses and the request is not proportional to the needs of the case. Plaintiffs cannot
meet their burden of demonstrating relevance and proportionality. (emphasis added).

        LETTER MOTION: Demand 43 requests "All written statements taken from
        witnesses to any occurrence alleged in the Complaint which are in your possession,
        custody or control. If there are documents in another person's custody, please
        interpret this as an interrogatory limited to the name and last known address of
        such witness and statement." Why would this not lead to discoverable evidence? It
        asks for witness statements as to plaintiffs' claims. The relevance is direct, and the
        objection as to an undefined proportionality is frivolous.




                                                  8
33842581v.1
